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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                              SOUTHEASTERN DIVISION

YVONNE ANDERSON,                              )
                                              )
       Plaintiff,                             )
                                              )
vs.                                           )          Case No. 1:18CV-00274SNLJ
                                              )
WAL-MART STORES EAST, L.P.,                   )
                                              )
       Defendant.                             )

                                 NOTICE OF SETTLEMENT

       COMES NOW Defendant Wal-Mart Stores East, L.P. (“Defendant”) and states that the

parties have reached an amicable settlement in this case. Defendant would request that any and

all applicable pending motions be denied as moot, and all deadlines be removed from the Court’s

calendar.

       The parties are working through the particulars to account for liens and other matters as

required by law. The parties will submit a joint stipulation for dismissal with prejudice as soon as

these issues can be ascertained and addressed. On behalf of all parties, Defendant would ask for

Sixty (60) days to submit a stipulation for dismissal.
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                                                Respectfully submitted,

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                                         By:       /s/ Patrick R. Douglas_____________
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                                                Counsel for Defendants Wal-Mart Stores
                                                East, L.P.




                                  Certificate of Service

       I hereby certify that a copy of the above and foregoing documents was filed with the
Court’s electronic filing system, on this 13th day of January 2020, to:

             Mr. David S. Corwin
             CORWIN LAW GROUP, LLC
             1034 S. Brentwood Blvd
             St. Louis, MO 63117


                                         /s/ Patrick R. Douglas______________
                                         Patrick R. Douglas
